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 9                                         UNITED STATES DISTRICT COURT
10                   CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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     HARMONI INTERNATIONAL SPICE,                                     CASE NO: 2:16-cv-00614
12
     INC., a California corporation, and                              Honorable Beverly Reid O’Connell
13   ZHENGZHOU HARMONI SPICE CO.,
14   LTD., a corporation,
                                                                      [PROPOSED] ORDER GRANTING
                                                                      MOTION TO STRIKE PURSUANT
15                       Plaintiffs,                                  TO CAL. CODE CIV. PROC.
     v.                                                               SECTION 425.16 ET SEQ., (ANTI-
16                                                                    SLAPP) AND F.R.C.P. RULE 12(F)
     WENZUAN BAI, an individual, et al.                               BY DEFENDANTS
17
18                      Defendants.
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               On April 25, 2016, at 1:30 p.m., the Motion to Strike Plaintiffs’ First Amended
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     Complaint by Defendants Robert T. Hume (“Hume”), Joey C. Montoya (“Montoya”),
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     Stanley Crawford (“Crawford”), Avrum Katz (“Katz”), Huamei Consulting Co., Inc.
24
     (“Huamei”), Kwo Lee, Inc., a California corporation (“Kwo Lee”), and Shuzhang Li (“Li”),
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     pursuant to California Code of Civil Procedure Section 425.16 et seq. and Rule 12(f) of the
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     Federal Rules of Civil, came on regularly for hearing. Having read and considered the moving
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                                                ORDER GRANTING MOTION TO STRIKE
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 1   papers, any opposition and reply briefs, and supporting declarations and evidence, and having
 2   considered the oral arguments of counsel, the Court rules as follows:
 3             The Motion to Strike Plaintiffs’ First Amended Complaint by Defendants Robert T.
 4   Hume (“Hume”), Joey C. Montoya (“Montoya”), Stanley Crawford (“Crawford”), Avrum
 5   Katz (“Katz”), Huamei Consulting Co., Inc. (“Huamei”), Kwo Lee, Inc., a California
 6   corporation (“Kwo Lee”), and Shuzhang Li (“Li”) is GRANTED.
 7             [The Second through Sixth Claims for Relief are hereby stricken from Plaintiffs’ First
 8   Amended Complaint.]
 9             [Paragraph 280 of the First Amended Complaint is stricken.]
10             [The words “. . . and restitutionary relief . . .” are hereby stricken from paragraph 279 of
11   the First Amended Complaint. Paragraph 3 of the Prayer for Relief is also stricken.]
12             [Paragraphs 279, 285, 289, 296, and 306 of the First Amended Complaint are hereby
13   stricken].
14             IT IS SO ORDERED
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17   DATED:___________                                                ____________________________
18                                                                    United States District Court Judge
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                                                ORDER GRANTING MOTION TO STRIKE
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